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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                         Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.


PLAINTIFF’S STATEMENT IN ADVANCE OF THE PARTIES’ SEPTEMBER 30, 2022
 TELECONFERENCE WITH THE COURT REGARDING DISCOVERY DISPUTES

       The FTC respectfully requests that the Court instruct the parties to submit joint reports at

the end of each calendar month throughout the discovery period, in addition to the joint reports

scheduled for November, 2022, February, 2023, and May, 2023. See ECF No. 103 ¶ 23.

       The parties previously submitted joint reports in May and August. On each occasion the

report prompted the parties to resolve lingering discovery disputes in the days before the reports

were due. The FTC hopes that future reports will have the same salutary effect. Below, the FTC

provides examples of issues that have for too long been pending. The FTC hopes that monthly

reports will spur the parties to reach agreement on these and other issues. To date, Meta’s delay

in addressing these issues since the last status report was filed on August 31– remedied to some

extent in the hours before the Court’s deadline for this statement – has prevented the FTC from

identifying compromises or seeking the Court’s assistance on intractable issues.

       1. Inaccurate or Deficient Privilege Claims, Identified August 4. The parties have a

long-standing dispute regarding privilege claims Meta advanced during the FTC’s pre-Complaint

investigation. On August 4, 2022, the FTC crystallized the dispute by identifying specific

documents exemplifying several categories of unsubstantiated privilege claims.
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        Just prior to the parties’ August 31 status report, Meta committed to, no later than

September 2, 2022: (i) produce some unjustifiably withheld documents the FTC identified on

August 4; and (ii) provide more specific privilege descriptions. Meta made this representation

on August 29, yet simply ignored its commitment until the morning of this filing: at 12:07 a.m.

on September 29 Meta for the first time produced some documents related to these issues. As of

this filing, Meta has still not yet produced any revised privilege descriptions. Meta’s failure to

fulfill its commitments has delayed resolution of this long-outstanding issue. An October joint

report should provide an opportunity to identify or resolve any disputes, assuming Meta provides

any additional documents and the long-promised privilege descriptions in a timely fashion.

        2. Meta’s Refusal to Discuss Collaborative Work Environments. The FTC does not

believe that Meta has fulfilled its commitment to provide information related to collaborative

work environments associated with each document production. Meta has ignored the FTC’s

request for information, so the FTC does not know whether the parties have a dispute.

        3. Meta’s Refusal to Timely Meet and Confer Regarding its Document

Preservation. On August 30, the FTC raised questions regarding Meta’s document preservation

efforts. The FTC followed up, but Meta refused to engage until the eve of this Court’s filing.

Finally, on September 28 at 10:13 p.m., Meta at last agreed to meet and confer on October 5.

Meta’s delay and refusal to provide any information for the entire month of September has

prevented the FTC from understanding whether the parties have a dispute. A monthly report at

the end of October should discourage Meta from repeating such dilatory conduct.

        4. Unsustainable Production Timeline for “Linked” Documents. Meta employees

routinely communicate with their colleagues by sending an originating communication (e.g., an

email) that includes – in lieu of an attachment – a link to a related file that is the subject of the

originating communication. In order for the FTC to effectively depose Meta’s executives, the



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FTC must be able to review the linked files. On August 10 and 22, the FTC identified to Meta a

total of 36 documents containing such links. To date, Meta has only provided incomplete

productions of linked documents, without metadata, and delayed or omitted information used for

associating linked files that Meta provided as a matter of course during the FTC’s investigation.

       Moreover, Meta’s production has been unsustainably slow. Meta initially rebuffed the

FTC’s effort to agree on a standardized timeline for producing linked files. On September 28,

Meta finally provided its first proposal. An October report will assist the parties in resolving this

issue, or determining whether the parties have a dispute.

       5. FTC Requests for Production (“RFPs”), Served July 12. The parties successfully

narrowed their disputes regarding Meta’s responses to ten RFPs the FTC served on July 12, but

for most RFPs Meta has not yet provided a date by which it expects to begin or complete its

production. The FTC believes that prompt compliance should be feasible, but without Meta’s

projected timeline, the FTC cannot determine whether the parties have a dispute.

       6. FTC 30(b)(6) Deposition Notice, Served on July 22. Negotiations over the FTC’s

30(b)(6) deposition notices have dragged on for far too long. After the FTC insisted on

contacting the Court’s chambers to request the upcoming teleconference, Meta finally engaged

with the FTC and the parties are in the process of narrowing disputes.

                                          *       *      *

       In addition to the FTC’s request for monthly joint status reports, the parties seek the

Court’s guidance regarding the forum in which to address future disputes with nonparties. The

FTC’s position is that the parties should proceed however the Court believes to be most efficient.

Dated: September 29, 2022                     Respectfully submitted,

                                              By: /s/ Daniel Matheson
                                              Daniel Matheson (D.C. Bar 502490)
                                              Krisha Cerilli (D.C. Bar 983281)
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